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NOT FOR PUBLICATION

                     UNITED STATES DISTRICT COURT
                        DISTRICT OF NEW JERSEY


                             :
WALTER HARRELL,              :
                             :               Civil No. 05-4281 (FLW)
               Petitioner,   :
                             :
          v.                 :
                             :                    O P I N I O N
STATE OF NEW JERSEY, et al., :
                             :
               Respondents. :
                             :


APPEARANCES:

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WOLFSON, District Judge

     Petitioner, Walter Harrell, filed the within petition for a

Writ of Habeas Corpus, pursuant to 28 U.S.C. § 2254.           Respondents

filed a Response to the Petition on January 27, 2006.           On August

22, 2006, Petitioner filed a Reply Brief.         The Court has

considered all submissions.      For the reasons set forth below, the

Court denies the Petition.
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                                BACKGROUND

     The charges for which Petitioner was convicted stem from a

series of sexual assaults against his niece over a period of

three years, during which time the victim was between the ages of

seven and nine.

     A Monmouth County Grand Jury indicted Petitioner on three

counts, including: first-degree aggravated sexual assault,

contrary to N.J.S.A. 2C:14-2a(1)(count one); second-degree sexual

assault, contrary to N.J.S.A. 2C:14-2b (count two); and third-

degree endangering the welfare of a child, contrary to N.J.S.A.

2C:24-4a (count three).

     Petitioner was tried before a jury from October 17-19, 1995.

Petitioner was acquitted on count one (aggravated sexual

assault), and was found guilty of counts two and three.

     On May 31, 1996, Petitioner was sentenced to an aggregate

sentence of ten years with five years of parole ineligibility on

the sexual assault conviction, consecutive to a five-year

custodial term with two and one-half years parole ineligibility

on the child endangerment conviction.

     Petitioner appealed his convictions and sentence to the

Superior Court of New Jersey, Appellate Division (“Appellate

Division”).    While his appeal was pending, Petitioner filed a

post-conviction relief motion (“PCR”) in trial court, which was

denied on May 30, 1997 due to the pending appeal.          On May 4,


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1998, the Appellate Division affirmed the convictions and

sentences without discussion.       See State v. W.H., A-0735-96T4.

Petitioner petitioned the New Jersey Supreme Court for

certification, which was denied on September 10, 1998.

     In February of 1999, Petitioner submitted a petition for a

writ of habeas corpus, pursuant to 28 U.S.C. § 2254, to this

district court.    The petition was dismissed, without prejudice,

for failure to exhaust state court remedies.

     In November of 1999, Petitioner filed a second PCR motion.

It was denied in September of 2000 without prejudice.           In May of

2001, Petitioner filed a third PCR motion.         It was eventually

denied on April 2, 2002.      Petitioner appealed the denial of the

third PCR to the Appellate Division, who affirmed the decision on

November 12, 2004.     The New Jersey Supreme Court denied

Petitioner’s petition for certification on May 13, 2005.

     The instant petition was filed on August 30, 2005 (docket

entry 1).   On September 26, 2005, Petitioner was advised of his

rights pursuant to Mason v. Meyers, 208 F.3d 414 (3d Cir.

2000)(docket entry 2).     On January 27, 2006, Respondents filed an

Answer and the state court record (docket entry 9).           On August

22, 2006, Petitioner submitted a reply brief in response to the

Answer (docket entry 13).




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                                DISCUSSION

A.   Petitioner’s Claims.

     Petitioner asserts the following arguments for habeas

relief:

     1.    Ineffective assistance of trial counsel (Grounds 1 and
           4).

     2.    Prosecutorial misconduct in grand jury proceedings
           (Ground 2).

     3.    Petitioner should have been afforded an evidentiary
           hearing on his PCR motion (Ground 3).

See Petition for Writ of Habeas Corpus, ¶ 12 and attachments.

B.   Standards Governing Petitioner’s Claims.

     Section 2254 of Title 28, United States Code, provides that

the district court “shall entertain an application for a writ of

habeas corpus in behalf of a person in custody pursuant to the

judgment of a State court only on the ground that he is in

custody in violation of the Constitution or laws or treaties of

the United States.”     28 U.S.C. § 2254(a).

     Under 28 U.S.C. § 2254, as amended by the Anti-Terrorism and

Effective Death Penalty Act, 28 U.S.C. § 2244 (“AEDPA”), federal

courts in habeas corpus cases must give considerable deference to

determinations of the state trial and appellate courts.           See

Duncan v. Morton, 256 F.3d 189, 196 (3d Cir.), cert. denied 534

U.S. 919 (2001); Dickerson v. Vaughn, 90 F.3d 87, 90 (3d Cir.

1996)(citing Parke v. Raley, 506 U.S. 20, 36 (1992)).



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     Section 2254(d) sets the standard for granting or denying a

writ of habeas corpus.     The statute reads as follows:

     (d) An application for a writ of habeas corpus on
     behalf of a person in custody pursuant to the judgment
     of a State court shall not be granted with respect to
     any claim that was adjudicated on the merits in State
     court proceedings unless the adjudication of the claim-

           (1) resulted in a decision that       was contrary
           to, or involved an unreasonable       application
           of, clearly established Federal       law, as
           determined by the Supreme Court       of the United
           States; or

           (2) resulted in a decision that was based on
           an unreasonable determination of the facts in
           light of the evidence presented in the State
           court proceeding.

28 U.S.C. § 2254(d).

     In Williams v. Taylor, 529 U.S. 362, 412-13 (2000), the

Supreme Court explained the application of § 2254(d)(1).            The

Court analyzed subsection 1 as two clauses:         the “contrary to”

clause and the “unreasonable application” clause.          The Court held

that under the “contrary to” clause, “a federal court may grant

the writ if the state court arrives at a conclusion opposite to

that reached by [the Supreme] Court on a question of law or if

the state court decides a case differently than [the Supreme]

Court has on a set of materially indistinguishable facts.”            Id.

A federal court may grant the writ under the “unreasonable

application” clause, if “the state court identifies the correct

governing legal principle from [the Supreme] Court’s decisions

but unreasonably applies that principle to the facts of the

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prisoner’s case.”     Id. at 413.    Habeas relief may not be granted

under the “unreasonable application” clause unless a state

court’s application of clearly established federal law was

objectively unreasonable; an incorrect application of federal law

alone is not sufficient to warrant habeas relief.          See id. at

411; see also Werts v. Vaughn, 228 F.3d 178, 197 (3d Cir. 2000),

cert. denied, 532 U.S. 980 (2001); Matteo v. Superintendent, SCI

Albion, 171 F.3d 877, 891 (3d Cir.), cert. denied, Matteo v.

Brennan, 528 U.S. 824 (1999).       Thus, the federal court must

decide whether the state court’s application of federal law, when

evaluated objectively and on the merits, resulted in an outcome

that cannot reasonably be justified under existing Supreme Court

precedent.   See Werts, 228 F.3d at 197; see also Jacobs v. Horn,

395 F.3d 92, 100 (3d Cir. 2005).

     With regard to 28 U.S.C. § 2254(d)(2), a federal court must

confine its examination to evidence in the record.          See Abu-Jamal

v. Horn, 2001 WL 1609690, at *12 (E.D. Pa. December 18, 2001).

In addition, the state court record should be reviewed to assess

the reasonableness of the state court’s factual determinations.

See id.   Finally, federal courts are required to apply a

“presumption of correctness to factual determinations made by the

state court.”    Id.; see also 28 U.S.C. § 2254(e)(1).         The Court

of Appeals for the Third Circuit has ruled that this presumption

of correctness can be overcome only by clear and convincing


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evidence.   See Duncan v. Morton, 256 F.3d 189, 196 (3d Cir.

2001)(citing 28 U.S.C. § 2254(e)(1)).        “A finding that is well-

supported and subject to the presumption of correctness is not

unreasonable.”    Abu-Jamal, 2001 WL 1609690 at *12 (citing Duncan,

156 F.3d at 198).

     Furthermore, federal habeas courts ordinarily refrain from

revisiting credibility determinations as “it would be wholly

inappropriate for a federal court to repastinate soil already

thoroughly plowed and delve into the veracity of the witnesses on

habeas review.”    Sanna v. Dipaolo, 265 F.3d 1, 10 (1st Cir.

2001).    A habeas petitioner therefore “must clear a high hurdle

before a federal court will set aside any of the state court’s

factual findings.”     Mastracchio v. Vose, 274 F.3d 590, 597-98

(1st Cir. 2001).

     A pro se pleading is held to less stringent standards than

more formal pleadings drafted by lawyers.         See Estelle v. Gamble,

429 U.S. 97, 106 (1976); Haines v. Kerner, 404 U.S. 519, 520

(1972).    A pro se habeas petition and any supporting submissions

must be construed liberally and with a measure of tolerance.            See

Royce v. Hahn, 151 F.3d 116, 118 (3d Cir. 1998); Lewis v.

Attorney General, 878 F.2d 714, 721-22 (3d Cir. 1989); United

States v. Brierley, 414 F.2d 552, 555 (3d Cir. 1969), cert.

denied, 399 U.S. 912 (1970).




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C.   Ineffective Assistance of Counsel Claims (Grounds 1 and 4).

     1.    The Strickland standard

     To begin, the "clearly established Federal law, as

determined by the Supreme Court of the United States," 28 U.S.C.

§ 2254(d)(1), is the standard for ineffective assistance of

counsel as enunciated in Strickland v. Washington, 466 U.S. 668

(1984).   Under Strickland, a petitioner seeking to prove a Sixth

Amendment violation must demonstrate that his counsel’s

performance fell below an objective standard of reasonableness,

assessing the facts of the case at the time of counsel’s conduct.

See id. at 688-89; Jacobs v. Horn, 395 F.3d 92, 102 (3d Cir.

2005); Keller v. Larkins, 251 F.3d 408, 418 (3d Cir.), cert.

denied, 534 U.S. 973 (2001).       Counsel’s errors must have been "so

serious as to deprive the defendant of a fair trial, a trial

whose result is reliable."      Strickland, 466 U.S. at 688.        "In any

case presenting an ineffectiveness claim, the performance inquiry

must be whether counsel's assistance was reasonable considering

all the circumstances."      Id.   The Supreme Court further

explained:

     Judicial scrutiny of counsel's performance must be
     highly deferential. It is all too tempting for a
     defendant to second-guess counsel's assistance after
     conviction or adverse sentence, and it is all too easy
     for a court, examining counsel's defense after it has
     proved unsuccessful, to conclude that a particular act
     or omission of counsel was unreasonable. A fair
     assessment of attorney performance requires that every
     effort be made to eliminate the distorting effects of
     hindsight, to reconstruct the circumstances of

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       counsel's challenged conduct, and to evaluate the
       conduct from counsel's perspective at the time.
       Because of the difficulties inherent in making the
       evaluation, a court must indulge a strong presumption
       that counsel's conduct falls within the wide range of
       reasonable professional assistance; that is, the
       defendant must overcome the presumption that, under the
       circumstances, the challenged action "might be
       considered sound trial strategy."

Id. at 689 (citations omitted); see also Virgin Islands v.

Wheatherwax, 77 F.3d 1425, 1431 (3d Cir.), cert. denied, 519 U.S.

1020 (1996).

       If able to demonstrate deficient performance by counsel, the

petitioner must also show that counsel’s substandard performance

actually prejudiced his defense.         See Strickland, 466 U.S. at

687.    Prejudice is shown if "there is a reasonable probability

that, but for counsel’s unprofessional errors, the result of the

proceeding would have been different.         A reasonable probability

is a probability sufficient to undermine confidence in the

outcome."    Id. at 694.   The reviewing court must evaluate the

effect of any errors in light of the totality of the evidence.

See id. at 695-96.     Thus, the petitioner must establish both

deficient performance and resulting prejudice in order to state

an ineffective assistance of counsel claim.         See id. at 697; see

also Jacobs, 395 F.3d at 102; Keller, 251 F.3d at 418.

       "[A]n attorney must investigate a case, when he has cause to

do so, in order to provide minimally competent professional

representation."    United States v. Kauffman, 109 F.3d 186, 190


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(3d Cir. 1997); Lewis v. Mazurkiewicz, 915 F.2d 106, 111 (3d Cir.

1990)(counsel has a duty to investigate or to make a reasonable

decision that makes particular investigations unnecessary).            When

assessing an ineffectiveness claim based on failure to

investigate, a court must assess the decision not to investigate

"for reasonableness in all the circumstances, applying a heavy

measure of deference to counsel’s judgments."         Strickland, 466

U.S. at 691; Kimmelman v. Morrison, 477 U.S. 365, 384 (1986); see

also Duncan v. Morton, 256 F.3d 189, 201 (3d Cir.), cert. denied,

534 U.S. 919 (2001).     "[S]trategic choices made after less than

complete investigation are reasonable precisely to the extent

that reasonable professional judgments support the limitations on

investigation."    Strickland, 466 U.S. at 691-92.        Even if counsel

was deficient in his decision not to investigate, a petitioner

must show a reasonable likelihood that, but for the deficiency,

the result of the proceeding would have been different.

See Lewis, 915 F.2d at 115.

     2.    Petitioner’s Claims

     In Ground One of his Petition, Petitioner notes that he was

represented prior to trial by two attorneys.         The first attorney,

Mr. Merced, only consulted with him one time and tried to

convince Petitioner to plead guilty based on the age of the

victim, the offenses charged, and Petitioner’s past record.

Petitioner also states that he filed a motion for grand jury


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transcripts, and that Mr. Merced did not provide the transcripts.

Petitioner admits that he later learned that the transcripts he

requested were non-existent.

     Petitioner asked Mr. Merced to resign and was then

represented by Mr. Eisler.      Petitioner states that he told Mr.

Eisler about alibi witnesses,1 and Mr. Eisler did not

investigate.   After Petitioner described his witnesses to Mr.

Eisler, Mr. Eisler stated that the issues didn’t “bear fruit.”

Mr. Eisler also tried to convince Petitioner to plead guilty, and

did not assist Petitioner in obtaining transcripts.

     In Ground Four of the Petition, Petitioner states that trial

counsel did not present a defense, did not vigorously cross-

examine witnesses, and did not “present Petitioner to the jury as

an innocent man.”    Petitioner states that counsel told him that

“he had a legal strategy that would combat the case of the

State.”   When a state worker from the Division of Youth and


     1
        Petitioner informed his attorneys about the following
information and witnesses: (a) Petitioner’s father could testify
that Petitioner was not living at the victim’s house and did not
babysit or pick up the victim from school; (b) Petitioner’s
employment records could verify that Petitioner had no time to
babysit or pick up the victim from school; (c) staff at a shelter
where Petitioner was staying could verify that he went to work
everyday; (d) Petitioner’s girlfriend could testify that
Petitioner worked everyday and did not commit the offenses; (e)
“school records, employment records and residential records”
could be obtained that “would clearly show that petitioner was
telling the truth;” (f) two parole officers could verify
Petitioner’s employment and residence; and (g) Petitioner was
with a female companion when he visited the victim’s home during
one occasion. (See Attachment to Petition, Ground One).

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Family Services (“DYFS”), who had previously told Petitioner of

some problems with the case against him, was excused as a state

witness, Petitioner requested that counsel retain her as a

defense witness, but counsel refused.        No DYFS report was

submitted, even though the DYFS worker was involved in the case.

     The Court notes that Petitioner was acquitted of the most

serious charge against him, aggravated sexual assault.

     3.    Appellate Division decision

     The Appellate Division examined Petitioner’s claims during

the appeal of his PCR motion.      Citing Strickland, the Appellate

Division reiterated the opinion of the PCR court, stating:

          Judge Kennedy [the PCR judge] considered counsels’
     decision to have matters of strategy and defendant’s
     claims of exculpatory evidence to be speculative. The
     judge found that “[i]t has not been shown that either
     defendant’s father or [shelter staff worker] Karen
     would have had personal knowledge of defendant’s
     whereabouts during the times in question.”
     Consequently, the judge concluded that there was “not a
     reasonable probability that the result of the
     proceeding would have been different” had these
     witnesses been called. We agree with Judge Kennedy.

          The indictment charged defendant with offenses
     occurring “between the years 1990 and 1992.” No
     witness or record suggested by defendant could
     establish that defendant had no opportunity to commit
     the crimes. Even assuming that counsel did not obtain
     the grand jury transcript, defendant has not
     established what benefit could have come from its
     possession.

          In short, after reviewing the record in light of
     the arguments made and the pertinent law, we conclude,
     as did Judge Kennedy, that even if counsel had
     performed as defendant now argues, the result would
     have been no different. An insufficient showing has

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     been made to justify any evidentiary hearing, and the
     claims advanced are without sufficient merit to warrant
     further discussion.

State v. Harrell, A-5403-01T4 (Nov. 12, 2004)(internal citations

omitted).

     4.     Analysis

     Petitioner has demonstrated neither that counsel’s

performance was deficient, nor that the results of the trial

would have been different had the attorney acted as Petitioner

now suggests.

     First, Petitioner’s counsel did not perform deficiently.            A

review of the trial transcripts reveals that Petitioner’s counsel

vigorously defended Petitioner.       For example, counsel zealously

cross-examined the witnesses, including the minor victim.

Counsel pointed out an inconsistency in the victim’s grand jury

testimony with the victim’s trial testimony.         Counsel attempted

to show that the victim fabricated her story based on a story she

had heard from a close friend, and based on a role playing

scenario she had witnessed at school that prompted the victim’s

revelations of the sexual incidents.       After raising these issues

during the course of the trial, counsel also raised these issues

in summation in an attempt to put a reasonable doubt into the

jurors’ minds.    Counsel’s strategy was clear from a review of the

transcripts.    The jury acquitted Petitioner on the aggravated

sexual assault count, which demonstrates counsel’s effectiveness.


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     Counsel’s decision not to call the alibi witnesses as

suggested by Petitioner was clearly a strategic decision.

Counsel considered Petitioner’s request, and then concluded that

the witnesses would not “bear fruit” on the defense’s case.

Further, counsel cannot be said to be deficient for advising

Petitioner that a plea would be in his best interest.

     Regardless, Petitioner has not demonstrated that counsel’s

actions prejudiced his defense.       As the state courts determined

that the alibi witnesses would not have materially aided the

defense, Petitioner cannot establish prejudice based upon

counsel’s failure to subpoena the witnesses.         Petitioner’s

conviction was a result of a credibility determination made by

the jury, and not a result of counsel’s allegedly deficient

performance.

     Further, as the state courts applied the correct Strickland

standard to Petitioner’s claims and reasonably applied the facts,

Petitioner has not shown, as required by 28 U.S.C. § 2254(d),

that the actions of the state courts "resulted in a decision that

was contrary to, or involved an unreasonable application of,

clearly established Federal law, as determined by the Supreme

Court of the United States," or "resulted in a decision that was

based on an unreasonable determination of the facts in light of

the evidence presented in the State court proceeding."           These

grounds for a writ of habeas corpus, are therefore denied.


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D.   Petitioner’s Claim Regarding Prosecutorial Misconduct
     (Ground 2).

     In Ground Two, Petitioner argues that upon reviewing the

minutes of the grand jury, no charge on the law was made to the

grand jury.   He states that the prosecutor engaged in

prosecutorial misconduct “by using evidence not of fact relating

to the instant case, but assumingly [sic] information from

petitioner’s past records to obtain an indictment.”

     Petitioner presented this issue to the trial court after he

was convicted.    The trial court stated:

          The defendant contends that, because the court
     stenographer did not record the Prosecutor’s
     instructions to the Grand Jury, the indictment should
     be dismissed. The defendant asserts that, because the
     court stenographer did not record the Prosecutor’s
     instructions, he can not determine if the instructions
     were erroneous.

          The procedural requirements for motions to dismiss
     are provided in [New Jersey Court] Rule 3:10-2. This
     Rule states the defenses and objections which must be
     raised before trial. The burden to prove good cause is
     difficult to overcome.

                              * * *
          . . . under Rule 3:10-2, this motion should have
     been made before the trial. The failure to read the
     Grand Jury transcript is no[t] good cause for counsel’s
     failure to move to dismiss the indictment before the
     trial.

See Transcript, September 13, 1996, at p. 6.

     Generally, deficiencies in state grand jury proceedings are

not grounds for relief under § 2254.       See Lopez v. Riley, 865

F.2d 30, 32 (2d Cir. 1989).      In Lopez, the Court of Appeals for


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the Second Circuit held that a claim regarding the legal

instruction given to the grand jury may not be raised in a habeas

proceeding under § 2254 “where a properly instructed petit jury

heard all relevant evidence and convicted.”         Id. at 31.    The

Lopez conclusion flows from United States v. Mechanik, 475 U.S.

66 (1986), in which the Supreme Court held that a violation of

Fed. R. Crim. P. 6(d) (which governs who may be present while the

grand jury is in session, deliberating, or voting), discovered

only at trial, did not justify relief after the petit jury had

rendered its verdict.

     [T]he petit jury’s subsequent guilty verdict means not
     only that there was probable cause to believe that the
     defendants were guilty as charged, but also that they
     are in fact guilty as charged beyond a reasonable
     doubt. Measured by the petit jury’s verdict, then, any
     error in the grand jury proceedings connected with the
     charging decision was harmless beyond a reasonable
     doubt.

Mechanik, 475 U.S. at 70 (footnote omitted); see also United

States v. Console, 13 F.3d 641, 671-72 (3d Cir. 1993) (with the

exception of a claim of racial discrimination in the selection of

grand jurors, a petit jury’s guilty verdict renders harmless any

prosecutorial misconduct before the indicting grand jury) (citing

Vasquez v. Hillery, 474 U.S. 254 (1986)).        Thus, to the extent

there were any deficiencies in the grand jury proceedings, they

must be considered harmless.      Petitioner is not entitled to

relief on these claims.



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E.   Petitioner’s Claim Regarding PCR Court’s Denial of Hearing
     (Ground 3).

     Petitioner argues in Ground Three that the PCR court

dismissed his PCR motion purely on bias and was prejudicial to

Petitioner.   The Appellate Division examined this claim on appeal

of Petitioner’s PCR denial, and found that “[a]n insufficient

showing has been made to justify any evidentiary hearing . . . .”

State v. Harrell, A-5403-01T4 (Nov. 12, 2004).

     It has long been established that habeas corpus relief is

intended only to address claims attacking underlying state

convictions, not matters collateral to those convictions.           See

Hassine v. Zimmerman, 160 F.3d 941, 954 (3d Cir. 1998), cert.

denied, 526 U.S. 1065 (1999).      In Hassine, the Third Circuit held

that “[t]he federal role in reviewing an application for habeas

corpus is limited to evaluating what occurred in the state or

federal proceedings that actually led to the petitioner’s

conviction; what occurred in the petitioner’s collateral

proceeding does not enter into the habeas calculation.”           Id.; see

also Lambert v. Blackwell, 2003 WL 1718511 at *35 (E.D. Pa. Apr.

1, 2003)(“Lambert’s claims of errors by the [post-conviction

relief] court fail to assert viable federal habeas claims,”

citing Hassine, 160 F.3d at 954); Rollins v. Snyder, 2002 WL

226618 at *5 (D. Del. Feb. 13, 2002)(“Rollins’ claims based on

the Delaware courts’ actions in his [post conviction proceedings]

are not cognizable on federal habeas review”).         Unless state

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collateral review violates some independent constitutional right,

such as the Equal Protection Clause, infirmities in state habeas

proceedings are not cognizable under § 2254 and do not warrant

federal habeas relief.     See, e.g., Rudd v. Johnson, 256 F.3d 317,

319-20 (5th Cir.), cert. denied, 121 S. Ct. 477 (2001); Gerlaugh

v. Stewart, 129 F.3d 1027, 1045 (9th Cir. 1997), cert. denied,

525 U.S. 903 (1998); Jolly v. Gammon, 28 F.3d 51, 54 (8th Cir.),

cert. denied, 513 U.S. 983 (1994); Steele v. Young, 11 F.3d 1518,

1524 (10th Cir. 1993); Bryant v. Maryland, 848 F.2d 492, 492 (4th

Cir. 1988); Spradley v. Dugger, 825 F.2d 1566, 1568 (11th Cir.

1987); Kirby v. Dutton, 794 F.2d 245, 247 (6th Cir. 1986).           But

see, Dickerson v. Walsh, 750 F.2d 150, 153 (1st Cir. 1984)

(noting prevailing rule and concluding that federal habeas was

proper avenue for attacking state post-conviction proceedings).

     In the instant case, Petitioner’s claim that he should have

been permitted a hearing on his PCR claims are without merit, as

his treatment during PCR proceedings is not cognizable in a

federal habeas proceeding.

                               CONCLUSION

     For the foregoing reasons, the Petition for a Writ of Habeas

Corpus, pursuant to 28 U.S.C. § 2254 is denied.         The Court

further finds that no certificate of appealability will issue

because Petitioner has not made a substantial showing of the




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denial of a constitutional right, as required by 28 U.S.C. §

2253.

     An appropriate Order accompanies this Opinion.



                                   S/Freda L. Wolfson
                                  FREDA L. WOLFSON
                                  United States District Judge
Dated: January 9, 2007




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